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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE


CHARLES F. BURRILL                                    )
                                                      )
       and                                            )
                                                      )
DEBORAH A. JAMES,                                     )
                                                      )
       Plaintiffs                                     )
                                                      )       CIVIL NO.
v.                                                    )
                                                      )
SOMERSET COUNTY; DALE                                 )
LANCASTER, in his official capacity as Sheriff        )
of the Somerset County Sheriff’s Office;              )
SOMERSET COUNTY COMMISSIONERS,                        )
Robert Sezak, Cyprien Johnson, Dean Cray,             )
Newell Graf, Lloyd Trafton, in their official         )
capacity as Somerset County Commissioners,            )
                                                      )
       Defendants                                     )

                                      COMPLAINT
                                 JURY TRIAL REQUESTED
                               INJUNCTIVE RELIEF SOUGHT


        1.     This is a civil rights action by Plaintiffs, Charles Burrill (“Burrill” or “Plaintiff”)

and Deborah James (“James” or “Plaintiff”), against Somerset County, Sheriff Dale Lancaster, in

his official capacity and the Somerset County Commissioners, in their official capacity

(“Defendant”), under the Maine Human Rights Act (“MHRA”), 5 M.R.S.A. §§ 4551 et seq.; the

Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12101 et seq.; and Section 504 of the

Rehabilitation Act of 1973 (“Section 504”), 29 U.S.C. §§ 701 et seq. for injunctive relief, civil

penal damages, compensatory damages, attorney’s fees and litigation expenses, and other relief

arising from Defendant’s failure to provide Burrill and James, who are deaf, with effective

communication.

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         2.    Charles Burrill is in his 70s and has lived on the same private road in Palmyra,

Maine for 28 years. Burrill resides with his significant other, Deborah James, and at times his

son, Charles Burrill, and his grandson, John Ryan. Burrill is deaf and communicates in American

Sign Language (ASL). Over the years, Burrill has come into contact with Defendant multiple

times. The Sheriff’s Office was at all relevant times aware of Burrill’s disability, including that

he communicates in ASL. In the late spring, summer and early fall of 2018, Burrill was visited

by officers from the Sheriff’s Office at least three times: on June 1st, July 4th, and September 26th

in connection to complaints between the neighbors. Despite their knowledge of Burrill’s

disability, Defendant failed to provide auxiliary aids and services to ensure effective

communication with Burrill on each of the occasions. Specifically, they failed to arrange for a

qualified sign language interpreter, despite repeated requests on Burrill’s behalf. Instead,

Defendant attempted to use Burrill’s family members, who do not know or only have

rudimentary knowledge of ASL and are not qualified interpreters, as interpreters. Burrill files

this action to seek injunctive relief so that he will be provided with effective communication in

the future, and for damages for violation of his civil rights under the ADA, Section 504, and the

MHRA.


         3.    James resides with Burrill in Palmyra, Maine. She is deaf and communicates in

American Sign Language (ASL). Over the years, James has come into contact with Defendant

multiple times as a result of neighborly and domestic disputes and requests for assistance. The

Sheriff’s Office was at all relevant times aware of James’ disability, including that she

communicates in ASL. James and others on her behalf have requested an ASL interpreter for

interactions with Defendant multiple times. Defendant has nevertheless failed to provide

auxiliary aids and services – namely, ASL interpretation – to ensure effective communication


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with James. James files this action to seek injunctive relief so that she will be provided with

effective communication in the future, and for damages for violation of her civil rights under the

ADA, Section 504, and the MHRA.


                                 JURISDICTION AND VENUE


         4.    This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331,

1343, and 1367 for Plaintiffs’ claims arising under Title II of the ADA, 42 U.S.C. § 12132, and

Section 504, 29 U.S.C. § 794.


         5.    This court has subject matter jurisdiction over Plaintiffs’ state claims pursuant to

28 U.S.C. § 1367.


         6.    In this action, Plaintiffs Burrill and James suffered injuries and barriers to access

and now seek damages and injunctive relief.


         7.    Venue lies in the District of Maine under 28 U.S.C. §§ 1391(b)(a) and (b)(2) in

that Defendant resides and transacts business, and a substantial part of the events or omissions

giving rise to the violations alleged in this Complaint occurred, in this District.


                                   PROCEDURAL HISTORY


         8.    Prior to filing this civil action, Burrill filed a timely complaint of discrimination

with the Maine Human Rights Commission on the bases alleged herein.

         9.    On March 17, 2020, the Maine Human Rights Commission issued a right to sue

letter to Burrill, authorizing Burrill to file a civil action to attempt relief under the Maine Human

Rights Act and that such action may be commenced within two years of the date of unlawful

discrimination or within 90 days of the letter.

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         10.    This lawsuit is filed within 2 years of the unlawful discrimination alleged herein

for Burrill and James and within 90 days of the letter issued by the Maine Human Rights

Commission for Burrill.


                                            PARTIES


         11.    Plaintiff Charles F. Burrill is a resident of Palmyra, Maine who is deaf and

communicates in American Sign Language (“ASL”). Burrill meets the essential eligibility

requirements for receipt of services from Defendant. Burrill is a qualified individual with a

disability under the ADA, Section 504, and the MHRA.


         12.    Plaintiff Deborah A. James is a resident of Palmyra, Maine. James is deaf and

communicates in ASL. James meets the essential eligibility requirement for receipt of services

from Defendants. James is a qualified individual with a disability under the ADA, Section 504,

and the MHRA.


         13.    Sheriff Dale Lancaster is the chief county law enforcement officer in Somerset

County and is responsible for administering and directing the Somerset County Sheriff’s

Department. 30-A M.R.S. Sheriff Lancaster has the custody and charge of the county jail and of

all prisoners in the jail. 30-A M.R.S. 1501.


         14.    The Somerset County Commissioners, in their official capacity, have final

authority over the operation of all county offices by elected or appointed county officials. 30-A

M.R.S. § 102.

       13.      Somerset County, Sheriff Lancaster and the Somerset County Commissioners are

an instrumentality of the Somerset County government and therefore are a public entity within



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the meaning of the MHRA and Title II of the ADA. 5 M.R.S. §§ 4553(8-C); 42 U.S.C. §

12131(1)(B).

          15.   At all relevant times to this complaint, Defendant received federal financial

assistance and is therefore subject to the requirements of Section 504. In fiscal years 2018 and

2019, Defendant received approximately $900,000 in federal assistance to be used for

Defendant’s Corrections programs and activities.

                                       JURY TRIAL DEMAND


          16.   Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs hereby demand a

jury trial on all issues triable as of right by jury.


                                                 FACTS


          17.   At all material times relative to this complaint, Burrill was deaf. His primary

language is American Sign Language (ASL), not spoken or written English.


          18.   At all material times relative to this complaint, Charles Burrill has resided with

James and his family in Palmyra, Maine. Palmyra is a town in Somerset County.


          19.   In order to have effective communication, Burrill requires qualified ASL

interpreters.


          20.   At all material times relative to this complaint, James was deaf. Her primary

language is ASL, not spoken or written English.

          21.   At all material times relative to this complaint, Deborah James has resided with

Charles Burrill and his family in Palmyra, Maine. Palmyra is a town in Somerset County.




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         22.    In order to have effective communication, James requires qualified ASL

interpreters.

         23.    Over the years, Plaintiffs have needed assistance from the Somerset County

Sheriff’s Office or they have been involved in disputes which have resulted in the Somerset

County Sheriff’s Office dispatching officers to their address on numerous occasions.

         24.    On each of these occasions, the officer or officers dispatched to Plaintiffs’ address

were made aware that they are deaf prior to arriving at their address. Despite knowledge of

Plaintiffs’ hearing disability and their resulting need for auxiliary aids or services to achieve

effective communication, the Sheriff’s Office failed to provide such aids or services.

         25.    The Sheriff’s Office failed to provide auxiliary aids or services necessary to

ensure effective communication with Burrill and James, namely ASL interpretation, even after

repeated requests by them or by others on their behalf.

         26.    During each visit to Burrill and James’s address, Defendant communicated

information pertaining to their legal rights and legal status without effectively communicating

with them.

         20.    Defendant used or tried to use Burrill’s son or grandson to “interpret”, without

their consent and Burrill’s consent. Burrill’s son and his grandson have only a rudimentary

knowledge of sign language and have no formal training or qualifications as sign language

interpreters. Attempts to communicate with Burrill through his son and grandson did not result in

effective communication. On other occasions, Defendant tried writing to communicate and

Defendant conditioned making a complaint on their writing it in English. Burrill and James

cannot and do not communicate in written or spoken English.




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         21.      Plaintiffs are citizens of Palmyra, Somerset County and intend to continue to

residing there.


       Plaintiffs’ Interactions with Defendant in the Fall, Summer and Spring of 2018


                                            June 1, 2018


         22.      On June 1st, 2018, Defendant dispatched Deputy Stephen Armiger (“Armiger”) to

Plaintiffs’ address in response to a “civil complaint” from a neighbor regarding property lines.


         23.      Burrill’s neighbor complained that Burrill had driven over wooden stakes that she

had placed along the edge of her property. Armiger notes in his report that this complaint

involved 3 wooden stakes with an estimated value of $10.00.


         24.      Armiger was aware prior to arriving at the address that Burrill is deaf and

communicates in ASL.


         25.      Armiger first went to the neighbor’s residence and asked the neighbor about what

had occurred.


         26.      Armiger then went to Plaintiffs’ residence to discuss the neighbor’s complaint.

Armiger had not made any arrangements for a sign language interpreter to meet him at the

address, nor had he arranged for any other auxiliary aids or services to achieve effective

communication.


         27.      When Armiger went to Plaintiffs’ residence, he made contact with Burrill but

could not communicate with Burrill because Burrill is deaf. Instead, Armiger attempted to

communicate with Burrill through Burrill’s son. Burrill’s son has only a rudimentary knowledge

of sign language and has no training or qualification as an interpreter.

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         28.   Burrill and Burrill’s son made it known that Burrill needs an ASL interpreter and

that Burrill could not effectively communicate with Armiger. Burrill expressed confusion about

what was being communicated. Armiger still did not make any modifications or provide any

auxiliary aids or services to ensure effective communication with Burrill.


         29.   Armiger did not give Burrill the opportunity or means to explain what had

occurred, despite having afforded Burrill’s neighbor that opportunity.


         30.   Armiger issued Burrill a Uniform Summons and Complaint for Criminal Mischief

for allegedly driving over three wooden stakes. Armiger did not communicate what the

Summons and Complaint was or what its legal implications were for Burrill. Armiger instructed

Burrill to sign his name on the paperwork. Burrill indicated he could not understand. Armiger

instructed him to sign his name on the paperwork anyway.


         31.   After Armiger left, Burrill still did not know why Armiger had come to his

address. He did not understand the summons Armiger had issued. Burrill’s son was not able to

relay Armiger’s communications to him.


       32.     Armiger did not provide Burrill with effective communication at any point of

their interaction on June 1, 2018.


                                         June 27, 2018


       33.     On June 27, 2018, Burrill and James called the Sheriff’s Office to report a

complaint regarding the roadway.


       34.     Burrill and James told the Sheriff’s Office that they are deaf and they requested an

interpreter to communicate.

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       35.       Dispatch advised the Sheriff’s Office that Burrill and James were calling to make

a complaint about the roadway.


       36.       Sheriff’s Office dispatched Deputy Brandon Lambert (“Lambert”) to the scene.


       37.       Sheriff’s Office did not contact an interpreter.


       38.       Lambert was aware prior to arriving at the address that Burrill is deaf and

communicates in ASL. Lambert arrived at the scene without an interpreter. Lambert attempted to

communicate through Burrill’s son.


       30.       Burrill and James were unable to communicate effectively with Lambert to make

a complaint.


                                             July 4, 2018


         40.     On July 4, 2018, the Sheriff’s Office received a complaint from Burrill’s neighbor

about Burrill.


         41.     Sheriff’s Office dispatched Deputy Brandon Lambert (“Lambert”) to the scene.

         42.     Lambert was aware prior to arriving at the address that Burrill is deaf and

communicates in ASL.


         43.     Lambert did not make arrangements for a qualified sign language interpreter to go

to Burrill’s address, nor did he attempt to provide any other auxiliary aid or service to ensure

effective communication with Burrill.


         44.     When he arrived at Burrill’s address, Lambert spoke with Burrill’s son. He

informed Burrill’s son that Burrill was going to be warned for harassment. He also told Burrill’s


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son that if Burrill’s actions continued, he would be charged with harassment. Lambert told

Burrill’s son to relay this information pertaining to Burrill’s legal status to Burrill.


         45.    Lambert did not directly communicate any of this information to Burrill. In fact,

Lambert did not interact with Burrill on July 4, 2018.


         46.    Lambert attempted to use Burrill’s son as an interpreter when he asked Burrill’s

son to inform Burrill that he was being issued a warning and that he stood to be charged with

harassment in the future.


         47.    Burrill’s son is not a qualified sign language interpreter. Burrill’s son has only a

rudimentary knowledge of ASL.


         48.    Burrill was not given the opportunity or the means to ask questions or clarify

information about the warning issued to him.


                                         September 11, 2018


          49.   On September 11, 2018, Sheriff’s Office dispatch received a call and request for

assistance for a motor vehicle accident involving Plaintiffs that occurred on the road where they

live.

          50.   Dispatch advised Deputy Armiger that the caller was Burrill’s grandson, who was

not at the scene but calling on behalf of Plaintiffs. Burrill’s grandson advised dispatch, who in

turn advised Armiger, that Plaintiffs felt the other vehicle struck them on purpose, that they need

assistance and that they are deaf.

          51.   Sheriff’s Office dispatched Armiger to the scene.

          52.   Neither Sheriff’s Office nor Armiger contacted an interpreter.


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         53.   Armiger was aware prior to arriving at the address that Plaintiffs are deaf and

communicate in sign language. Armiger arrived at the scene without an interpreter.

         54.   When Armiger arrived at the scene, James indicated she did not want to speak

with him because there was not an interpreter.

         55.   Armiger did not contact an interpreter.

         56.   Instead, Armiger attempted to communicate with Plaintiff through written

English, which is not effective communication for Plaintiffs.

         57.   Next, Armiger also attempted to communicate with Plaintiffs at the scene through

Video Relay Service (VRS). VRS is a type of telephone call provided for by the Federal

Communications Commission (FCC). VRS is only to be used when a person with a hearing

disability desires to communicate through the telephone system. VRS is not a substitute for “in-

person” interpreting. 47 C.F.R. 64.601(17).

         58.   Burrill and James wanted to make a complaint that their neighbor intentionally

pulled out behind them, tailgated them, and caused them to be fearful that their car would be

stricken. But Armiger only gave them the option of making a written complaint. Burrill and

James do not read and write English effectively. Burrill and James were not able to make a

written complaint or any complaint.

         59.   Armiger returned to Plaintiffs’ residence the next day to follow up on the

complaint but did not bring an interpreter and had no contact with Plaintiffs. Armiger did not

make contact with the neighbors to follow up on Plaintiffs’ complaint.

         60.   The following day, Armiger concluded in his narrative, “case closed, no crime

involved.”


                                    September 16 – 17, 2018


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          61.   On September 16, 2018, Plaintiff Deborah James contacted the Sheriff’s

Department to complain that her neighbor tried to talk to her and drove her vehicle next to

James’ in a threatening manner. James requested assistance from the Sheriff’s Department to

make a complaint.

          62.   On September 16 at 6:23 p.m., Sheriff’s Office dispatched Deputy Brandon

Lambert (“Lambert”) to James’ road in response to her call.

          63.   Sheriff’s Office was aware that James is deaf.

          64.   Sheriff’s Office did not contact an interpreter.

          65.   Lambert was aware prior to arriving at the address that James is deaf and

communicates in sign language. Lambert arrived on the scene without an interpreter.

          66.   Lambert went to the neighbor’s residence only and spoke with the neighbor, who

shared her side of the story. Lambert did not go to James’ residence next door to act or attempt to

speak with her at all.

          67.   Lambert closed the case without speaking with James or rendering any assistance

to her.

          68.   On September 17, 2018 at 9:45 a.m., James called the Sheriff’s Office to

complain that she requested assistance the previous day and the deputy went to the house next

door and did not speak with her about her complaint.

          69.   On September 17, at 9:48 a.m., dispatch accessed a protection order that James’

neighbor has against her. Dispatch noted, “Caller [James] would like someone to explain the

restraining order to her.”

          70.   James requested an interpreter to explain the restraining order to her because she

does not read English and did not understand it.



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         71.   Sheriff’s Office was at all times aware that James is deaf and requires a sign

language interpreter for effective communication. Sheriff’s Office did not contact an interpreter.

         72.   On September 17 at 11:35 a.m., dispatch noted that “several deaf people live there

extremely hard to understand them, they are going down to the court and ask for an interpreter

for assistance.”


                                   September 26, 2018: Arrest


         73.   On September 26, 2018, the Sheriff’s Office received a complaint from Burrill’s

neighbor.


         74.   Lambert was dispatched to Burrill’s address.


         75.   Once again, Lambert was aware of Burrill’s disability and his resulting need for

auxiliary aids and services (namely, a qualified sign language interpreter) for effective

communication before Lambert arrived at Burrill’s residence.


         76.   As on the two prior occasions, no arrangements were made to provide Burrill with

an auxiliary aid or service to provide effective communication.


         77.   When Lambert arrived on the scene, Burrill was inside his house with his family.

Burrill was settled in for the evening and wearing his pajamas. There was no evidence that he

was actively engaged in the conduct of which his neighbor complained.


         78.   Lambert first went to the neighbor’s house to speak with the neighbor and her

husband about the complaint.


         79.   Lambert then went to Burrill’s residence. Lambert spoke with Burrill’s son, who

is not a qualified sign language interpreter.

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         80.   Lambert told Burrill’s son that he was there to arrest Burrill. Burrill’s son

requested an interpreter on Burrill’s behalf. Lambert did not provide an interpreter, and instead

attempted to communicate with Burrill through Burrill’s son.


         81.   Lambert arrested Burrill, handcuffed Burrill’s hands behind his back, and placed

Burrill in the back of the police cruiser. Burrill’s son informed Lambert again that Burrill needed

an ASL interpreter.


         82.   Lambert denied the request for an ASL interpreter, stating that an interpreter was

not coming and that he did not need to provide an interpreter.


         83.   Burrill did not know why he was being arrested. He could not communicate with

his son or with Lambert because his hands were handcuffed behind his back and because there

was no interpreter present to ensure effective communication.


         84.   Soon after Burrill was arrested, Burrill’s grandson, John Ryan, called the jail to

request an interpreter.


                          September 26 – 29, 2018: Somerset County Jail


         85.   Lambert transported Burrill to the Somerset County Jail on September 26. There

was no ASL interpreter at the jail when Lambert and Burrill arrived, despite the request for an

interpreter made on Burrill’s behalf by his son. Burrill did not know why he was arrested.


         86.   Lambert did not inform the jail of Burrill’s request for an interpreter, which he

needs for effective communication.


         87.   Burrill was given paperwork to sign at the jail but he was not provided an

interpreter to interpret the document for him. Burrill does not read written English and did not

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understand what he was being asked to sign. He indicated by gesturing and facial expression that

he did not understand what the papers said. He refused to sign the document.


            88.   Burrill was placed in a cell at the jail. He still did not know why he had been

arrested.


            89.   Burrill was not provided an interpreter at any point during his arrest, processing

into jail, or time in jail on September 26th.


            90.   On September 27th, Burrill was taken to the nurse to receive medication. The

nurse at the jail attempted to write notes to him to communicate. Burrill cannot read.


            91.   The nurse then attempted to use a video relay service to communicate with

Burrill. The video relay service interpreter was not qualified to interpret medical, mental health,

or legal questions and was not able to interpret an in-person meeting.


            92.   Finally, the nurse arranged for an ASL interpreter to come to the jail to interpret

the health questionnaire to Burrill. A qualified ASL interpreter arrived within about two hours of

the request. The nurse was able to effectively administer the medical screening when Burrill was

provided the services of a qualified, on-site ASL interpreter. This was the only time while in jail

that Burrill was provided an auxiliary aid or service, and it was the only time that he was able to

access effective communication.


            93.   Burrill was never provided with an opportunity to use a video phone while he was

in jail. Defendant never informed him that any video phone was available for his use. Therefore,

Burrill was unable to make any calls to his family or a lawyer.




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         94.    On September 28th, an officer retrieved Burrill from his cell, placed him in

handcuffs, and Burrill was then transported to the courthouse.


         95.    Burrill was not provided an interpreter until he arrived at the court. There was no

communication as he was being transported from the jail to court.


         96.    Burrill was provided an interpreter by the court on September 28th. This was the

first time that he was made aware of the charges against him and the first time that he understood

why he had been arrested and kept in jail for three days.


         97.    The charges against Burrill were later dismissed by the District Attorney’s office

“in the interest of justice.”

    Defendant Lacks Any Policy and Procedure to Ensure Effective Communication for
                               Individuals who are Deaf
         98.    Defendant has no policy or procedure regarding the provision of qualified sign

language interpreters to individuals who are deaf or hard of hearing.

         99.    Defendant       has   no   policy   or   procedure   regarding   ensuring   effective

communication with people who are deaf and hard of hearing.

         100. At all times relevant to this complaint, Defendant lacked a written policy or

procedure to guide police interactions with individuals with disabilities.

         101. At all times relevant to this complaint, Defendant lacked a formal department

policy for compliance with the ADA or the MHRA.

         102. At all times relevant to this complaint, Defendant has received federal financial

assistance.

           103. Burrill and James continue to reside at in the Town of Palmyra, Somerset County.




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Burrill and James seek injunctive relief to ensure that Defendants will provide them with

effective communication in the future.

                                     COUNT I
                TITLE II OF THE AMERICANS WITH DISABILITIES ACT
                                42 USC § 12131 et seq.

          104. Plaintiffs incorporate the allegations set forth in the remainder of the Complaint as

if fully set forth herein.


          105. Burrill’s hearing loss is a physical impairment that substantially limits one or

more major life activities, including his ability to hear and to communicate. Burrill has a record

of such an impairment and he was regarded as having such an impairment. 42 USC § 12102.


          106. James’s hearing loss is a physical impairment that substantially limits one or more

major life activities, including her ability to hear and to communicate. James has a record of such

an impairment and she was regarded as having such an impairment. 42 USC § 12102.


          107. Therefore, Burrill and James are individuals with disabilities under Title II of the

ADA. 42 USC § 12102.


          108. Title II prohibits public entities such as Defendant from excluding individuals

with disabilities from participation in or denying them the benefits of their services, programs, or

activities, or otherwise subjecting such individuals to discrimination. 42 USC § 12132.


          109. Defendant excluded Plaintiffs from participation in and/or denied them the

benefits of its services, programs, and/or activities, and/or subjected them to discrimination on

the basis of disability in violation of Title II and its implementing regulations.


          110. Such discrimination includes but is not limited to:


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        a. Denying Plaintiffs the opportunity to participate in or benefits from an aid,

           benefit, or service. 28 CFR § 35.130(b)(1)(i).


        b. Affording Plaintiffs the opportunity to benefit from an aid, benefit, or service that

           is not equal to that afford others. 28 CFR § 35.130(b)(1)(ii).


        c. Providing Plaintiffs with aids, benefits, and services that are not effective in

           affording equal opportunity to obtain the same result, to gain the same benefit, or

           to reach the same level of achievement as that provided to others. 28 CFR §

           35.130(b)(1)(iii).


        d. Using criteria or methods of administration that have the effect of subjecting

           Plaintiffs to discrimination on the basis of disability. 28 C.F.R. 35.130(b)(3)(i).


        e. Failing to make reasonable modifications in policies, practices, or procedures

           when the modifications are necessary to avoid discrimination against Plaintiffs on

           the basis of disability. 28 CFR § 35.130(b)(7).


        f. Failing to ensure that communications with Plaintiffs were as effective as

           communications with others. 28 CFR § 35.160(a)(1).


        g. Failing to furnish appropriate auxiliary aids and services where necessary to

           afford Plaintiffs an equal opportunity to participate in, and enjoy the benefits of,

           Defendant’s services, programs, or activities. 28 CFR § 35.160(b)(1).


        h. Failing to give primary consideration to the requests of Plaintiffs Burrill and

           James concerning the types of auxiliary aids and service necessary. 28 CFR §

           35.160(b)(2).

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            i. Relying on an adult accompanying Plaintiffs to facilitate communication in the

                absence of an imminent threat to safety and without consent from Plaintiffs and

                the accompanying adult. 28 CFR § 35.160(c)(2).


         111. Defendants’ actions described in this complaint were intentional and/or were

taken with deliberate indifference to the rights of Plaintiffs James and Burrill to effective

communication.


         112. As a direct and proximate result of Defendants’ acts, omissions, and violations

alleged above, Plaintiffs have suffered damages.


         113. Plaintiffs have been injured and aggrieved and will continue to be injured and

aggrieved by Defendant’s discrimination against them.


         114. Defendant had knowledge of its obligations under the ADA and was deliberately

indifferent to the rights of Plaintiffs.


         115. Defendant’s acts and omissions were intentional, willful, wanton, in bad faith,

and/or malicious.


         WHEREFORE, Plaintiffs Burrill and James respectfully pray that this Court enter

judgment in their favor to include, but not be limited to, an order:


                  a. To declare that Defendant’s actions and inactions violated Title II of the

                      Americans with Disabilities Act;

                  b. To permanently enjoin Defendant from any practice, policy, and/or

                      procedure which will deny Plaintiffs equal access to, and benefit from,




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                      Defendant’s services or which deny Plaintiffs effective communication with

                      the Defendant;

                  c. To award Plaintiffs compensatory damages;

                  d. To award Plaintiffs nominal damages;

                  e. To award further enforcement and other equitable relief to ensure that such

                      training and policies are maintained in the future;

                  f. To award reasonable attorney fees and costs, and any and all other relief that

                      may be necessary and appropriate.

                  g. To award such additional or alternative relief as may be just, proper and

                      equitable.


                                 COUNT II
          SECTION 504 OF THE REHABILITATON ACT, 29 U.S.C. § 794 et seq.


          116. Plaintiffs incorporate the allegations set forth in the remainder of the Complaint as

if fully set forth herein.


          117. Plaintiff Burrill is deaf and is substantially limited in his major life activities,

including his ability to hear and to effectively communicate with others who are not fluent in

ASL. Burrill is substantially limited in his major bodily functions, including auditory system.

Burrill is an individual with a disability under Section 504 of the Rehabilitation Act, as amended.


          118. Plaintiff James is deaf and is substantially limited in her major life activities,

including her ability to hear and to effectively communicate with others who are not fluent in

ASL. James is substantially limited in her major bodily functions, including auditory system.

James is an individual with a disability under Section 504 of the Rehabilitation Act, as amended.



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         119. Defendant Somerset County Sheriff’s Office receives federal financial assistance

as that term is used in Section 504. In fiscal years 2018 and 2019, Defendant received

approximately $900,000 in federal assistance per year.


         120. Section 504 requires that no qualified individual with a disability, on the basis of

that disability, be excluded from participation in or be denied the benefit of the services,

programs, activities of, or be otherwise discriminated against by a recipient of federal financial

assistance.


          121. Defendant violated Section 504 in numerous ways, including but not limited to

              the all of the discriminatory actions enumerated in Count I of this Complaint, as

              well as the discriminatory actions described below.


         122. Prior to Burrill’s interactions with Sheriff’s Office deputies, Defendant was aware

that Burrill is deaf and that he communicates through sign language.


         123. During Defendant’s interactions with Plaintiffs Burrill and James, deputies were

informed that Plaintiffs require an ASL interpreter for effective communication.


         124. The deputies and jail staff who interacted with Burrill had actual knowledge of his

disability and limitations, yet during the majority of their interactions with Burrill, he was denied

effective communication.


         125. By not using a qualified ASL interpreter, Defendant did not explain the actions it

was taking against Burrill or the implications those actions had on his legal status, nor did

Defendant permit Burrill to ask questions or to have a real understanding of the warnings and

summonses he was issued.


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         126. By not using a qualified ASL interpreter, Defendant deprived Burrill of the

opportunity to participate in a dialogue about his neighbor’s complaints against him. He was not

given the benefit of information exchange that Defendant allowed his neighbors. While his

neighbors had the benefit of engaging in a verbal exchange to provide Defendant with

information in support of their allegations against Burrill, Burrill was denied any such benefit by

Defendant’s failure to provide him with effective communication.


         127. By not using a qualified ASL interpreter, Defendant also deprived Burrill the

benefit of knowing what he was being warned of or charged with. Non-disabled individuals have

the benefit of knowing why a police officer is at their house, what they are being issued a

warning or a summons for, what the implications there are for their future conduct, etc. Non-

disabled individuals also have the benefit of having a ticket or summons explained to them if

necessary, and of asking questions and clarifying information as necessary. Burrill was denied all

of these benefits because of Defendant’s failure to provide effective communication.


         128. Because of the failure to provide effective communication, Burrill had an

incomplete understanding of what was happening during his interactions with Defendant.


         129. Accordingly, Defendant discriminated against Plaintiffs by failing to provide

appropriate auxiliary aids or services necessary to ensure effective communication with

individuals who are deaf or hard of hearing, in violation of Section 504 of the Rehabilitation Act,

29 U.S.C. § 794.


         130. Defendant’s policies, practices, and procedures, particularly those described

above, violated Plaintiffs’ rights under Section 504 of the Rehabilitation Act by discriminating

against Plaintiffs on the basis of disability.


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         131. Defendant’s actions were intentional, with reckless disregard, and with deliberate

indifference to the rights and needs of Plaintiffs Burrill and James.


         132. As a result of Defendant’s actions, Plaintiffs Burrill and James have been

damaged and have suffered injuries and experienced emotional suffering, pain, and anguish.


       WHEREFORE, Plaintiffs Burrill and James respectfully pray that this Court grant the

following relief against Defendants, including entering a declaratory judgment, pursuant to Rule

57 of the Federal Rules of Civil Procedure, stating that Defendant’s practices, policies, and

procedures have subjected Plaintiffs to discrimination in violation of Section 504 of the

Rehabilitation Act and permanently enjoining the defendant from any practice, policy, and/or

procedure which will deny Plaintiffs equal access to, and benefit from Defendants’ services or

which deny Plaintiffs effective communication with Defendants. This includes entering a

permanent injunction ordering Defendants:


             a. To immediately begin providing Plaintiffs with qualified ASL interpretation

                 during substantive, non-exigent interactions;


             b. To cease discrimination against Plaintiffs and all deaf or hard of hearing

                 individuals;


             c. To promulgate and comply with policies and procedures to ensure that

                 Defendants and their staff do not discriminate against individuals who are deaf

                 and hard of hearing;




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              d. To promulgate and comply with procedures to ensure that Defendants will

                  provide and pay for interpreter services when needed by individuals who are

                  deaf or hard of hearing;


              e. To award compensatory damages to Plaintiffs;


              f. To award nominal damages to Plaintiffs;


              g. To award reasonable costs and attorney’s fees; and


              h. To award any and all other relief that may be necessary and appropriate.


                                  COUNT III
                  MAINE HUMAN RIGHTS ACT, 5 M.R.S.A. §§ 4551 et seq.


          133. Plaintiffs incorporate the allegations set forth in the remainder of the Complaint as

if fully set forth herein.


          134. Plaintiff Burrill is deaf or has abnormal hearing loss. 5 M.R.S. § 4553-A(1)(B).

His hearing impairment is a physical impairment that substantially limits one or more major life

activities, including his ability to hear and to communicate, and significantly impairs physical or

mental health. 5 M.R.S. §§ 4551-A(1)(A)(1)&(2). Burrill has a record of deafness or abnormal

hearing loss and he was regarded as having a disability. 5 M.R.S.A. §§ 4553-A(1)(C)&(D).


          135. Plaintiff James is deaf or has abnormal hearing loss. 5 M.R.S. § 4553-A(1)(B).

Her hearing impairment is a physical impairment that substantially limits one or more major life

activities, including her ability to hear and to communicate, and significantly impairs physical or

mental health. 5 M.R.S. §§ 4551-A(1)(A)(1)&(2). James has a record of deafness or abnormal

hearing loss and she was regarded as having a disability. 5 M.R.S.A. §§ 4553-A(1)(C)&(D).


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        136. Therefore, Plaintiffs Burrill and James are individuals with disabilities under

Subchapter 5 of the Maine Human Rights Act.


        137. Defendant violated Subchapter 5 of the Maine Human Rights Act and its

interpreting regulations in numerous ways, including but not limited to discriminatory actions

which occurred when they:


              a. Directly or indirectly refused, discriminated against or in any manner withheld

                  from or denied the full and equal enjoyment to Plaintiffs, on account of

                  disability, any of the accommodations, advantages, facilities, goods, services,

                  or privileges of the public entity, or in any manner discriminated against

                  Plaintiffs in the terms or conditions upon which access to accommodation,

                  advantages, facilities, goods, services, and privileges may depend.


              b. Failed to make reasonable modifications in policies, practices, or procedures

                  when modifications are necessary to afford the goods, services, facilities,

                  privileges, advantages, or accommodations to individuals with disabilities. 5

                  M.R.S. § 4592(1)(B)


              c. Failed to take steps that may be necessary to ensure that no individual with a

                  disability is excluded, denied services, segregated, or otherwise treated

                  differently than other individuals because of the absence of auxiliary aids or

                  services. 5 M.R.S. § 4592(1)(C).


              d. Excluded Plaintiffs from participation in, or denied the benefits of the

                  services, programs, or activities of a public entity, or subjected Plaintiffs to

                  discrimination. 5 M.R.S. § 4592(1)(E).

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           e. Failed to maintain policies and procedures to ensure compliance with

              Subchapter 5 of the Maine Human Rights Act, specifically policies that

              provide equal access and effective communication to individuals with

              disabilities in compliance with 5 M.R.S. §§ 4591, 4592(1).


           f. Subjected Plaintiffs, on the basis of disability, directly or through contractual,

              licensing, or other arrangements, to a denial of the opportunity to participate

              in or benefit from the goods, services, facilities, privileges, advantages, or

              accommodations of Defendant. 5 M.R.S. § 4592(4)(A).


           g. Failed to ensure that communications with Plaintiffs were as effective as

              communications with non-disabled individuals. 5 M.R.S. §§ 4591, 4592(1);

              94-348 C.M.R. Ch. 7, § 7.17 (Sept. 24, 2014).


           h. Failed to provide auxiliary aids and services, including a qualified ASL

              interpreter, and to modify policies and procedures to prevent discrimination

              against Plaintiffs. 5 M.R.S. §§ 4591, 4592(2).


           i. Failed to take those steps that may be necessary to ensure that Plaintiffs are

              not excluded, denied services, segregated, or otherwise treated differently than

              other individuals because of the absence of auxiliary aids and services,

              namely, qualified ASL interpreters. 94-348 C.M.R. Ch. 7, § 7.17(A),(B)(1)

              (Sept. 24, 2014).


           j. Failed to furnish appropriate aids and services where necessary to ensure

              effective communication with Plaintiffs. 94-348 C.M.R. Ch. 7, § 7.17(C)(1)

              (Sept. 24, 2014).

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               k. Relied on adults accompanying Plaintiffs to interpret or facilitate

                    communication. 94-348 C.M.R. Ch. 7, § 7.17(C)(3) (Sept. 24, 2014).


         138. Defendant had knowledge of its obligations under the Maine Human Rights Act

and was deliberately indifferent to the rights of Plaintiffs.


         139. Defendant’s acts and omissions were intentional, willful, wanton, in bad faith,

and/or malicious.


         140. Defendant engaged in a discriminatory practice or discriminatory practices with

malice or with reckless indifference to Plaintiffs’ rights.


         141. Defendant knew that Plaintiffs would be harmed by their failure to provide a

qualified ASL interpreter.


      WHEREFORE, Plaintiffs respectfully pray that this Court enter judgment in their favor to

include, but not be limited to, an Order:


               a. To cease and desist from the unlawful practices specified in the order;

               b. To declare that Defendant’s actions and inactions violated Subchapter 5 of the

                    Maine Human Rights Act;

               c. To permanently enjoin the Defendant from any practice, policy, and/or

                    procedure which will deny Plaintiffs equal access to, and benefit from,

                    Defendant’s services or which will deny Plaintiffs effective communication

                    with Defendant;

               d. To award further enforcement and other equitable relief to ensure that such

                    training and policies are maintained in the future;


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            e. To pay Plaintiffs civil penal damages;

            f. To pay Plaintiffs nominal damages; and

            g. To pay Plaintiffs reasonable attorney’s fees and costs, and any and all other

               relief that may be necessary and appropriate.


DATED: May 29, 2020                              /s/ Kristin L. Aiello______________
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